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             DABNEY L. FRIEDRICH, UNITED STATES DISTRICT JUDGE
                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA                     :    Docket No.: 0090 1:21CR00316-001
                                                :
                     vs.                        :    Disclosure Date: November 2, 2022
                                                :
           Reid, William Rogan                  :


       PARTIES OBLIGATION AND RESPONSE TO PRESENTENCE REPORT

Pursuant to Fed. Rules of Crim. Proc. Rule 32(f)(1) and (2), the parties shall submit any material
inaccuracies or disputes to the presentence investigation report (PSR), by November 16, 2022
This form and/or objections to the PSR shall be filed via CM/ECF.

Note: The probation office never includes information about 18 USC § 3553(e) or USSG § 5K1.1,
pursuant to Rule 32(c)(3).

                                      For the Government
(CHECK APPROPRIATE BOX)
       ( )     There are no material/factual inaccuracies therein.
       (X)     There are material/factual inaccuracies in the PSR. See attached.

                                       For the Defendant
(CHECK APPROPRIATE BOX)
       ( )     There are no material/factual inaccuracies therein.
       ( )     There are material/factual inaccuracies in the PSR.


                 Restrictions on Use and Redisclosure of Presentence Report

The presentence investigation report and this form are not public documents.

It is the policy of the federal judiciary and the Department of Justice that further redisclosure of
the presentence investigation report is prohibited without the consent of the sentencing judge.
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

        v.                                             Case No. 21-cr-316-DLF

 WILLIAM ROGAN REID,

             Defendant.

          GOVERNMENT’S RESPONSE TO DRAFT PRESENTENCE REPORT

        The government hereby files this response to the draft presentence investigation report (“PSI”) for

defendant William Rogan Reid (ECF No. 32).

        The government has no objections, but submits the following additional information relating to

Paragraph 93, which discusses Reid’s child support obligations. Exhibit A is a record from Reid’s child

support in Broward County, Florida, showing that the total amount of child support owed by Reid as of

November 7, 2022 is $44,476.53. The record also shows that Reid made no child support payments from

September 19, 2014 through October 5, 2017, and the last voluntary payment made by Reid (indicated by

an entry in the “Check #” column that begins with an “S”) was in April 2018. Finally, the document shows

no adjustment in the monthly child support obligation owed by Reid during the period 2014 through 2016,

when he claims (PSI ¶ 109) to have been a stay-at-home father.

        Exhibit B is a 2016 order of contempt against Reid, stating that he did not appear for a hearing,

despite notice, and did not rebut the presumption of present ability to comply with the court’s order to pay

child support.
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        Exhibit C is a 2018 order of contempt against Reid, stating that Reid appeared for the hearing and

failed to pay as ordered despite the fact that he had the ability to pay child support.



                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY
                                                   D.C. Bar No. 481052

                                           BY:     /s/ Robert Juman
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